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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,

Plaintiff, Case No. 1:21-cr-00091-RCL
vs.
CRAIG BINGERT et al.,

Defendants.

 

 

ORDER GRANTING AGREED MOTION TO
CONTINUE STATUS CONFERENCE

THIS MATTER, having come before the Court on an agreed motion to continue
the status hearing currently set for Monday, September 27, 2021, and the Court having
considered the facts set forth in the motion and the records and files herein, the Court
hereby ORDERS that the currently scheduled hearing date is stricken and that the hearing

is reset to Tuesday, October 19, 2021, at 10:00am.

DONE this 24 day of September, 2021.

Gu Lana
The Honorable Royce C, Lamberth
United States District Judge
